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LIN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
In re: ) Chapter 11
)
BCause Mining LLC, )
) Judge Janet S. Baer
Debtor/Debtor-in-Possession. )

) Case No. 19-10562

NOTICE OF MOTION

TO: ATTACHED SERVICE LIST

PLEASE TAKE NOTICE that on the 18" day of April, 2019, at 9:30 a.m., or soon
thereafter as counsel can be heard, I shall appear before the Honorable Janet S. Baer,
Bankruptcy Judge, in the room usually occupied by her as Courtroom 615 in the United
States Bankruptcy Court in the Everett McKinley Dirksen Federal Building, 219 S.

Dearborn Street, Chicago, Illinois, or before any other Judge who may be sitting in her
place and stead and shall present the Motion te Provide Adequate Assurance of Payment

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For Continued Utility Service, a copy of which is attached hereto and herewith served
upon you, and shall pray for the entry of an Order in compliance therewith.

AT WHICH TIME and place you may appear if you so see fit.

/s/Jeffrey C. Dan

Crane, Simon, Clar & Dan
135 S. LaSalle St., Ste. 3705
Chicago, Illinois 60603
(312) 641-6777

CERTIFICATE OF SERVICE

The undersigned, being first duly sworn on oath deposes and states that he caused
a copy of the foregoing Notice and attached Motion to be served on all parties listed on the
attached Service List via the Court’s Electronic Registration (ECF) (where indicated), or
via First Class U.S. Mail (where indicated), properly addressed and postage pre-paid on
the 11" day of April, 2019.

/s/Jeffrey C. Dan

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SERVICE LIST

Served Via ECF

Patrick S. Layng

Office of the United States Trustee
219 8. Dearborn Street

Room 873

Chicago, IL 60604

Via e-mail
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George Sladoje

Fred Grede, CEO

BCause Mining LLC

130 S. Jefferson St., #101
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Gaylene Watson

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Albany, NY 12212-5043

Dominion Energy Virginia
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Richmond, VA 23290-0001
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Thomas F. Farrell, II
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Craig Silliman

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2IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
In re: ) Chapter 11
)
BCause Mining LLC, )
) Judge Janet S. Baer
Debtor/Debtor-in-Possession. )

) Case No. 19-10562

Motion to Provide Adequate Assurance
of Payment For Continued Utility Service

BCause Mining LLC, a Virginia limited liability company, Debtor/Debtor-in-Possession
herein (“Debtor’’), by and through its attorneys, makes its Motion to Provide Adequate
Assurance of Payment For Continued Utility Service (“Motion”), pursuant to Section 363 of the
Bankruptcy Code, and in support thereof, states as follows:

INTRODUCTION

1, On April 11, 2019, the Debtor filed its voluntary petition for relief under Chapter
11 of the Bankruptcy Code (“Petition Date”).

2. The Debtor has been operating its business and managing its financial affairs as
debtor-in-possession since the Petition Date. No trustee, examiner or committee of unsecured
creditors has been appointed in the Debtor’s Chapter 11 case.

3. This Court has jurisdiction over this matter pursuant to 28 U.S.C. Sections 157 and
1334.

4, This matter constitutes a “core” proceeding within the meaning of 28 U.S.C.
Section 157(b)(2)(A) and (O).

5. The statutory predicate for the relief requested in this Motion is Section 366 of the

Bankruptcy Code.
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RELEVANT FACTUAL BACKGROUND

6. The Debtor is in the business of crypto currency mining, which is the process of
producing digital currency using cryptography and high-powered computers known as mining
rigs, or minors. The Debtor does not itself mine, but is a service provider that hosts a mining
venue for its customers.

7. The Debtor provides a state of the art mining facility in Virgina Beach, Virginia,
and maintains offices located at 130 S. Jefferson Street, Suite 101, Chicago, Illinois, 60661.

8. The Debtor is wholly owned by BCause LLC, which is a limited liability holding
company also formed in Virginia.

9. The Debtor’s Chapter 11 filing was triggered by a judgment entered in favor of
WESCO and a garnishment of BCause LLC’s bank account, from which all of the Debtor’s bills
are paid, including bills for utilities such as Dominion Energy, which has threatened a shut-off of
the Debtor’s utilities for non-payment, as of April 12, 2019.

10, BCause LLC will itself file a Chapter 11 case in order to free up funds for the
Debtor and BCause LLC.

11. The Debtor does not have any employees, as all employees are employed by
BCause LLC. BCause LLC employs twenty-seven (27) full time and four (4) part time employees.

12, WESCO asserts a security interest in cash equivalents, including the Debtor’s cash
and accounts receivable, among other collateral (the “Collateral’’).

13. The Debtor, as of the Petition Date, had an interest in the BCause LLC bank
account, totaling approximately $900,000, accounts receivable of approximately $1,021,000.00

and machinery and electrical equipment valued at approximately $7,500,000.00.
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Requested Relief

14. In order to continue its business operations, the Debtor must be provided with

continued uninterrupted utility services from the "Utility Companies", as listed on Exhibit A

attached hereto and incorporated by reference herein.

15, The purpose of Section 366(b) of the Bankruptcy Code is to afford a utility

company reasonable protection against risk of nonpayment of post-petition utility charges by a

debtor.

16. The Debtor proposes the following as adequate assurance of payment for

continued utility services to each utility company:

a.

Each utility company shall retain any pre-petition security deposit paid by
the Debtor as a post-petition security deposit’;

Each utility company shall be entitled to an administrative expense
priority claim for any post-petition utility charges that remain unpaid;

The Debtor shall timely pay the utilities as billed by each utility and shall
remain current on such payment;

The Debtor shall pay each utility that does not currently hold a deposit a
deposit in an amount equal to one month of the Debtor’s average monthly
expense for each utility, within forty-five (45) days of the entry of an order
approving this motion; and

Each utility company shall be prohibited from terminating, discontinuing
or otherwise interrupting utility service to the Debtor until further order of

court.

'Dominion Energy Virginia is currently holding a security deposit from the Debtor in the amount of $1,587,200.21.

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17. The Debtor submits that, in view of the purpose of Section 366(b) of the
Bankruptcy Code, its proposal for adequate assurance of payment for continued utility services is
fair and reasonable. The Debtor further submits that requiring any other form of adequate
assurance of payment would unnecessarily deplete the Debtor’s present and future cash resources
which would otherwise be used in the operation of its business.
18. This Motion is intended to constitute Debtor’s compliance with Section 366(b) of
the Bankruptcy Code by serving as Debtors’ offer of adequate assurance to the utility companies.
WHEREFORE, BCause Mining LLC, a Virginia limited liability company,
Debtor/Debtor-in-Possession herein, requests the entry of an Order as follows:
A. Approving the Debtor’s proposal for adequate assurance of payment for continued
utility services from each of the utility companies as set forth in this Motion;
B. Prohibiting each of the utility companies from terminating, discontinuing or
otherwise interrupting utility services to the Debtor until further Order of this
Court;
ateral orders entered in this case to allow the payments of
deposits to the utility companies; and

Dz. For such other and further relief as this Court deems fit and proper.

BCause Mining LLC, a Virginia limited
liability company,

By:/s/Jeffrey C. Dan
One of its Attorneys

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DEBTOR’S COUNSEL:

Scott R. Clar (Atty. No. 06183741)
Jeffrey C. Dan (Atty. No. 06242750)
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